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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                              )
    In re:                                                    )        Chapter 7
                                                              )
    SIZMEK INC., et al.,1                                     )        Case No. 19-10971(SMB)
                                                              )
                                      Debtors.                )        (Jointly Administered)
                                                              )
                                                              )


                                  NOTICE OF CHANGE OF ADDRESS

       PLEASE TAKE NOTICE that, as of February 1, 2021, the mailing address for KTBS
Law LLP (“KTBS”), the undersigned counsel for Cerberus Business Finance, LLC in the above-
captioned chapter 7 cases, has changed to:

             New Address:
             KTBS Law LLP
             1801 Century Park East, 26th Floor
             Los Angeles, California 90067
             Attention: Thomas E. Patterson, Ariella Thal Simonds

             Former Address:
             KTBS Law LLP
             1999 Avenue of the Stars, 39th Floor
             Los Angeles, California 90067
             Attention: Thomas E. Patterson, Ariella Thal Simonds

       PLEASE TAKE FURTHER NOTICE that all e-mail addresses, telephone numbers,
and facsimile numbers affiliated with KTBS will remain the same.

       PLEASE TAKE FURTHER NOTICE that all future pleadings, correspondence, and
other documents that require receipt by or service on KTBS are to be directed to the new mailing
address set forth above.




1
     Debtors in the above captured Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
     identification number, include: Sizmek Inc. (4624); Sizmek DSP, Inc. (2319); Point Roll, Inc. (3173); Sizmek
     Technologies, Inc. (6402); Wireless Artist LLC (0302); WirelessDeveloper, Inc. (9686); X Plus One Solutions,
     Inc. (8106); X Plus Two Solutions, LLC (4914); and Solomon Acquisition Corp (4229). The location of Debtors’
     service address for purposes of these Chapter 7 Cases is: Realization Services, Inc. Attn: Melanie Browne, P.O.
     Box 189, Bedford Hills, NY 10507.
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 Dated:   January 25, 2021         KTBS LAW LLP
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